        Case 3:18-cr-00239-RNC Document 14 Filed 11/07/18 Page 1 of 2



                      UNITED STATES DISTRICT COURT

                         DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA           :
                                   :
             v.                    :     CASE NO. 3:18-cr-00239-RNC
                                   :
JOHN EDMONDS                       :

            ORDER ACCEPTING THE MAGISTRATE JUDGE'S FINDINGS

       1.   I hereby accept and adopt the Magistrate Judge's

finding that the plea of guilty by this defendant has been

knowingly and voluntarily made and the recommendation that the

defendant's plea of guilty should be accepted.          Accordingly, a

finding of guilty will enter forthwith, and the case is referred

to the United States Probation Office for the preparation of a

Presentence Report.

       2.   The defendant will appear for sentencing on December

19, 2018 at 10:00 a.m., in the North Courtroom at the United

States Courthouse, 450 Main Street, Hartford, Connecticut.

       3.   The Presentence Report will be disclosed to the

defendant, counsel for defendant, and the Government by no later

than   November 7, 2018     .   Counsel will then have five (5) days

in which to communicate to the probation officer any objections

they may have as to any material information, sentencing

classifications, sentencing guideline range, and policy

statements in the Report.       The second or final version of the
       Case 3:18-cr-00239-RNC Document 14 Filed 11/07/18 Page 2 of 2



Presentence Report must be disclosed to counsel and to the court

by   December 1, 2018    .

      4.     The defendant will submit any memorandum in aid of

sentencing by no later than      December 5, 2018     .   The Government

will submit any response to the defendant's sentencing

memorandum by no later than       December 12, 2018.

           It is so ordered.

           ENTERED at Hartford, Connecticut, this         7th    day of

November 2018.


                                                     /s/ RNC
                                              Robert N. Chatigny
                                         United States District Judge




 
